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                                 IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF ARKANSAS
                                          FORT SMITH DIVISION

                JIMMY D. AVEY                                               PLAINTIFF

                            v.             Civil No. 10-2051

                MICHAEL J. ASTRUE, Commissioner
                Social Security Administration                              DEFENDANT



                                            J U D G M E N T

                      Now on this 1st day of June, 2011, comes on for consideration

                the Report and Recommendation dated May 9, 2011, by the Honorable

                James R. Marschewski, Chief United States Magistrate Judge for the

                Western District of Arkansas.          Fourteen (14) days have passed

                without objections being filed by the parties.               The Court has

                reviewed this case, and being well and sufficiently advised, finds

                that the Report and Recommendation is proper and should be adopted

                in its entirety.     Accordingly, the Court hereby adopts the Report

                and Recommendation; affirms the decision of the Administrative Law

                Judge; and dismisses plaintiff’s complaint with prejudice.

                      IT IS SO ORDERED.

                                                   /s/ Robert T. Dawson
                                                   HONORABLE ROBERT T. DAWSON
                                                   UNITED STATES DISTRICT JUDGE




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(Rev. 8/82)
